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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION

UNITED STATES OF AMERICA, 05x70 84 (0)
Plaintiff, Criminal No. 03-80810

v. Honorable Gerald E. Rosen

D-1 AHMAD MUSA JEBRIL,
D-2 MUSA ABDALLAH JEBRIL,

 

Defendants.

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SUBHIEHJEBRIL'S PETITIONTO (Sq Fay
ADJUDICATE THE VALIDITY OF 2% i=

HERINTERESTIN Bec > r

5745 GREENVIEW, DETROIT, MICHIGAS ao Ty

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NOW COMES Petitioner, Subhieh Jebtil, by and through her ety, Sort G. Rube the

following: ™

1. Tam the wife of Musa Abdallah Jebril. We were married in 1964 and are still
married to this day.

2. On March 22, 1990, my husband and I purchased the property located at 5745
Greenview, Detroit, Michigan for $25,300 (hereinafter the “subject property”). We recetved a
quitclaim deed related to the subject property.

3. My interest in the subject property is based on the fact that the title is in my name
with my husband. Under Michigan law, my husband and I own the subject property as tenants
by the entireties which prevents its forfeiture, See U.S. v. 2525 Leroy Lane, 910 F. 2d 343 (6"
Cir. 1990), cert. dented, 111 8.C+. 1414 (1991).

4, I do not know of any acts conducted by the Defendants that would give rise to the

forfeiture of the subject property.

 

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3 Based on my ownership interest in the subject property, the property cannot be
forfeited to the government.

6. Pursuant 10 21 U.5.C. 7853(n)(6(A) and (B), | have a legal right, title and/or
interest recognized by law that is superior to that of the Defendants at the time the alleged
commission of the acts occurred which gave rise to this forfeiture and I am a bona fide purchaser
of the subject property without reason to believe that the property was subject to forfeiture.

WHEREFORE, Petitioner, Subheih Jebril, seeks to have her ownership interest in the
subject property adjudicated by the Courts and have the forfeiture action against this property
dismissed in its entirety.

I declare, under penalty of perjury, that the facts contained in this Petition are true to the best of
my ability and information.

wl Ve.
Subheih Jebril

Subscribed and swam to betore me on

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DOMHAM. BANE
GEARY PUBLIC, STATE OF MA

COUNTY OF KE
_HNOUAT tebe? Audrulion
, Jorin G. Rubin (P60867)
Law Office of Jorin G, Rubin, PC
Attomey for Plaintiff
26711 Northwestern Hwy, Suite 200
Southfield, MI 48034
(248) 799-9100

 

Respectfaly submitted,

Dated: March 3, 2005

 

 

 

 
